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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA

 IN RE: COOK MEDICAL, INC., IVC                 § Case No. 1:14-ml-2570-RLY-TAB
 FILTERS MARKETING, SALES                       §                   MDL No. 2570
 PRACTICES AND PRODUCTS                         §
 LIABILITY LITIGATION
                                                §
 This Document Relates to Plaintiff:            § Case No. 1:21-cv-02764-RLY-TAB
                                                §
 Jackie Watkins,                                §
                                                §
           Plaintiff,                           §
                                                §
 v.                                             §
                                                §
 Cook Incorporated, Cook Medical LLC, and       §
 William Cook Europe APS                        §
                                                §
           Defendants.                          §

                        Order on Motion for Leave to Amend Complaint

       Considering the parties’ Motion for Leave to Amend Complaint of Jackie Watkins.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECLARED that the Unopposed

Motion for Leave to Amend the Complaint [Filing No. 24544] filed by Jackie Watkins is hereby

GRANTED and the Clerk of the Court is directed to file the Amended Short Form Complaint

into the record in this matter.

       Date: 7/12/2023
                                              _______________________________
                                               Tim A. Baker
                                               United States Magistrate Judge
                                               Southern District of Indiana




  Distribution to all registered counsel of record via CM/ECF
